Case 2:05-cr-20205-.]PI\/| Document 23 Filed 06/22/05 Page 1 of 2 Page|D 40

s F-'r:
JN THE UNITED STATES DISTRICT CoURT H'““"' t ‘ film/923
FoR THE WESTERN DISTRICT 01= TENNESSEE ,

WEsTERN DIVISION 05 JL'N 22 PH 3- 3`_’

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oz~ TN, Msme:»i:s

UNITED sTATEs oF AMERICA -. W»

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V.

CHRIS NEWTON 05cr20205-1-M1

 

ORDER ON ARRAIGNMENT

This cause came to be heard on id?bo¢i_z, 2.§a Md 5 the United States Attorney
for this district appeared on behalf of the g emment, and the defendant appeared in person and with

counsel:
NAME /<!U?A . Cgl 79 100/wi ?t ¢ Who is Retained/Appointcd.
' 0 "' 0 \-r‘ J' r'_-"

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

 

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.
The defendant (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal. mh

UNITED sTATEs MAGISTRATE JUDGE

 

CHARGES - 18:1951.F
INTERFERENCE VVITH COMMERCE BY THREAT OR VIOLENCE

Attorney assigned to Case: T. DiScenza

Age: 351/
Th|s document entered on the docket heat |n comptlanee
with Ru!e 55 and/or 32(b) FHCrP on zer¢g_§ f 2 §

 

   

UNITED sTATE DRISTIC COURT - WESTER D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20205 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

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Hugh .1. Moore

WITT GAITHER & WH[TAKER
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Chattanooga, TN 37402--260

Honorable .1 on McCalla
US DISTRICT COURT

